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                                 EXHIBIT B

                           LIEBOWITZ TRANSFERS


           12/7/2017               $                              46,146.75
          12/26/2017               $                             113,979.29
           2/1/2018                $                             507,015.70
           2/28/2018               $                              33,063.92
           4/26/2018               $                              72,267.58
           6/8/2018                $                              79,195.26
           7/3/2018                $                              98,738.87
          11/23/2018               $                             176,527.38
          12/12/2018               $                             177,911.58
           2/5/2019                $                             141,787.18
           5/2/2019                $                           1,223,639.99
           6/27/2019               $                             186,831.92
           10/8/2019               $                             108,997.80
        Defendant Total            $                           2,966,103.22
